Case 3:16-md-02738-MAS-RLS            Document 5794        Filed 04/13/18      Page 1 of 3 PageID:
                                           16288



                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

 _____________________________________________
                                              )
 IN RE:                                       )
                                              )
 JOHNSON & JOHNSON TALCUM POWDER              )                  No. 16-MD-02738
 PRODUCTS MARKETING, SALES PRACTICES          )                  No. 17-CV-02753 (JMF)
 AND PRODUCTS LIABILITY LITIGATION            )
                                              )                  Hon. Freda L. Wolfson
                                              )
                                              )
 _____________________________________________)


 This document relates to 1:17-CV-02753

                          MOTION TO WITHDRAW AS COUNSEL

        Ravi Kishan Sangisetty and Sangisetty Law Firm (together hereinafter “Sangisetty”)

 respectfully request that the Court grant their request to withdraw as counsel for Carol Eidson,

 Plaintiff in 17:-CV-02753, and further state the following in support of their motion:

 1.     On June 16, 2017, Ms. Eidson instructed Sangisetty to take no further action on her claims.

 2.     At that time, Ms. Eidson also requested a copy of her case file, of which Sangisetty

 immediately provided a complete and accurate copy.

 3.     Sangisetty also informed Ms. Eidson of her preservation obligations under Case

 Management Order No. 6.

 4.     Sangisetty has waited for Ms. Eidson to obtain other representation in conjunction with her

 claims before filing a motion to withdraw. Nearly 10 months later, this has not occurred.

 5.     Sangisetty is not assessing any charging lien or retaining lien on Ms. Eidson’s claims.

        Therefore, Sangisetty respectfully requests that the Court issue an order terminating its

 representation of Plaintiff Carol Eidson in the above-styled and referenced matter.




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Case 3:16-md-02738-MAS-RLS   Document 5794     Filed 04/13/18   Page 2 of 3 PageID:
                                  16289



                                   Respectfully submitted,
                                    /s/ Ravi K. Sangisetty

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                                      2
Case 3:16-md-02738-MAS-RLS   Document 5794   Filed 04/13/18   Page 3 of 3 PageID:
                                  16290




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